        Case 2:23-bk-50619              Doc 54       Filed 01/08/24 Entered 01/08/24 11:20:14                         Desc Main
                                                    Document      Page 1 of 17


                                       UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF OHIO
                                                          EASTERN DIVISION


In Re. Gobo, Ltd.                                                   §                   Case No. 23-50619
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 12/31/2023                                                        Petition Date: 03/01/2023

Months Pending: 10                                                                        Industry Classification:    0   0   0   0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ John W. Kennedy                                                          John W. Kennedy
Signature of Responsible Party                                               Printed Name of Responsible Party
01/08/2024
Date
                                                                             575 South Third St., Columbus, OH 43215
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
        Case 2:23-bk-50619                  Doc 54      Filed 01/08/24 Entered 01/08/24 11:20:14              Desc Main
                                                       Document      Page 2 of 17
Debtor's Name Gobo, Ltd.                                                                          Case No. 23-50619


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                          $92,018
b.   Total receipts (net of transfers between accounts)                                       $34,056                   $521,673
c.   Total disbursements (net of transfers between accounts)                                  $29,641                   $419,774
d.   Cash balance end of month (a+b-c)                                                        $96,433
e.   Disbursements made by third party for the benefit of the estate                                 $0                      $0
f.   Total disbursements for quarterly fee calculation (c+e)                                  $29,641                   $419,774
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                      $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                     $96,432
e.   Total assets                                                                          $2,967,432
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                              $2,891,801
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                        $0
n.   Total liabilities (debt) (j+k+l+m)                                                    $2,891,801
o.   Ending equity/net worth (e-n)                                                            $75,631

Part 3: Assets Sold or Transferred                                                Current Month            Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                      $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                      $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                      $0

Part 4: Income Statement (Statement of Operations)                                Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                         $34,056
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                       $34,056
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                      $29,641
f.   Other expenses                                                                                $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                                $4,414                 $99,067


UST Form 11-MOR (12/01/2021)                                           2
       Case 2:23-bk-50619                  Doc 54          Filed 01/08/24 Entered 01/08/24 11:20:14                       Desc Main
                                                          Document      Page 3 of 17
Debtor's Name Gobo, Ltd.                                                                                      Case No. 23-50619

Part 5: Professional Fees and Expenses

                                                                                   Approved       Approved       Paid Current       Paid
                                                                                 Current Month   Cumulative         Month         Cumulative
a.      Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0       $28,600            $1,000        $26,000
        Itemized Breakdown by Firm
                 Firm Name                         Role
        i        Strip Hoppers                     Lead Counsel                             $0       $28,600            $1,000        $26,000
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UST Form 11-MOR (12/01/2021)                                                 3
       Case 2:23-bk-50619      Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14    Desc Main
                                        Document      Page 4 of 17
Debtor's Name Gobo, Ltd.                                                 Case No. 23-50619


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UST Form 11-MOR (12/01/2021)                       4
       Case 2:23-bk-50619                  Doc 54         Filed 01/08/24 Entered 01/08/24 11:20:14                       Desc Main
                                                         Document      Page 5 of 17
Debtor's Name Gobo, Ltd.                                                                                     Case No. 23-50619


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                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
b.      Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total              $0
        Itemized Breakdown by Firm
                 Firm Name                        Role
        i                                                                                  $0
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UST Form 11-MOR (12/01/2021)                                              5
       Case 2:23-bk-50619      Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14    Desc Main
                                        Document      Page 6 of 17
Debtor's Name Gobo, Ltd.                                                 Case No. 23-50619


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UST Form 11-MOR (12/01/2021)                       6
       Case 2:23-bk-50619      Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14    Desc Main
                                        Document      Page 7 of 17
Debtor's Name Gobo, Ltd.                                                 Case No. 23-50619


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UST Form 11-MOR (12/01/2021)                       7
        Case 2:23-bk-50619                 Doc 54       Filed 01/08/24 Entered 01/08/24 11:20:14              Desc Main
                                                       Document      Page 8 of 17
Debtor's Name Gobo, Ltd.                                                                      Case No. 23-50619


         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                         $7,237                       $7,237
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                 Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                          8
           Case 2:23-bk-50619                Doc 54       Filed 01/08/24 Entered 01/08/24 11:20:14                        Desc Main
                                                         Document      Page 9 of 17
Debtor's Name Gobo, Ltd.                                                                                      Case No. 23-50619

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Donald A. Lee                                                               Donald A. Lee
Signature of Responsible Party                                                  Printed Name of Responsible Party

Member                                                                          01/08/2024
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
       Case 2:23-bk-50619      Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14    Desc Main
                                        Document     Page 10 of 17
Debtor's Name Gobo, Ltd.                                                 Case No. 23-50619




                                                 PageOnePartOne




                                                PageOnePartTwo




                                                 PageTwoPartOne




                                                PageTwoPartTwo




UST Form 11-MOR (12/01/2021)                         10
       Case 2:23-bk-50619      Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14    Desc Main
                                        Document     Page 11 of 17
Debtor's Name Gobo, Ltd.                                                 Case No. 23-50619




                                                  Bankruptcy1to50




                                                 Bankruptcy51to100




                                                NonBankruptcy1to50




                                               NonBankruptcy51to100




UST Form 11-MOR (12/01/2021)                          11
       Case 2:23-bk-50619      Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14    Desc Main
                                        Document     Page 12 of 17
Debtor's Name Gobo, Ltd.                                                 Case No. 23-50619




                                                  PageThree




                                                   PageFour




UST Form 11-MOR (12/01/2021)                        12
Case 2:23-bk-50619     Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14   Desc Main
                                Document     Page 13 of 17



                                 Gobo, Ltd. December 2023
Profit and Loss Statement
Revenue:
       Rents                      $32,500.00
       Utility Reimbursement       $1,555.54
Total Revenue:                    $34,055.54
Expenses:
       Utilities                   $5,571.92
       Maintenance                     $0.00
       Management fees             $1,000.00
       RE Tax                      $7,237.20
       HNB Interest               $13,270.71
       UST fees                      $354.47
       Insurance                   $1,192.11
       Attorney fees               $1,000.00
Total Expenses:                   $29,641.41
Net Income:                        $4,414.13


Cash Flow Statement
Beginning balance                 $92,017.94
Receipts                          $34,055.54
Disbursements                     $29,641.41
Ending balance                    $96,432.07
         Case 2:23-bk-50619      Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14        Desc Main
                                          Document     Page 14 of 17




                                                      Date 12/29/23          Page      1
                                                      Primary Account               9326


         GOBO LTD.
         Debtor In Possession-Case 2:23-bk-
         50619-Operating
         4000 HORIZONS DRIVE
         COLUMBUS OH 43220




 Account Title:             GOBO LTD.
                            Debtor In Possession-Case 2:23-bk-
                            50619-Operating
 Commercial Checking                           Number of Enclosures                  4
 Account Number                        9326    Statement Dates 12/01/23 thru 12/31/23
 Previous Balance                 92,017.94    Days in the statement period         31
     3 Deposits/Credits           34,055.54    Avg Daily Ledger             113,965.23
    12 Checks/Debits              29,641.41    Avg Daily Collected          113,965.23
 Maintenance Fee                        .00
 Interest Paid                          .00
 Ending Balance                   96,432.07


DEPOSITS AND OTHER CREDITS
 Date        Description                                    Amount
 12/04       VENDOR PAY VivekforAmerica                  30,000.00
             CCD 056009470000171
             Gobo Ltd.
 12/11       Invoices    Horizons [ Compa                 2,500.00
             CCD 021000028860755
             GoBo Ltd.
 12/22       DEPOSIT     INTUIT 38330685                  1,555.54
             CCD 021000024286205
             GOBO, LTD
          Case 2:23-bk-50619       Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14      Desc Main
                                            Document     Page 15 of 17




                                                           Date 12/29/23     Page      2
                                                           Primary Account          9326




  Commercial Checking                               9326    (Continued)
CHECKS AND WITHDRAWALS
  Date        Description                                        Amount
  12/01       PAYMENT     ERIEINSURANCEWEB                     1,192.11-
              CCD 031101113955443
              Gobo LTD
  12/04       RSIBILLPAY REPUBLICSERVICES                        177.17-
              WEB 051000018435765
              GOBO
              300461069245
  12/06       Invoices    Don Lee                              1,000.00-
              CCD 121140390284727
              Gobo Ltd.
  12/18       BILL PAY    AEP COLUMBUS SOU                     1,646.89-
              CCD 031101117592795
               GOBO, LLC
  12/18       WATERSEWER CITY OF COLS                          2,222.20-
              WEB 043305130021484
              Gobo Ltd
              043000095166750
  12/22       TRAN FEE    INTUIT 47459035                         15.00-
              CCD 021000024441233
              GOBO, LTD
  12/27       RSIBILLPAY REPUBLICSERVICES                        218.79-
              WEB 051000016704370
              GOBO
              300461069245
  12/28       BILLPAY     COLUMBIA GAS OF                      1,306.87-
              WEB 091000011012781
              HORIZONS NA
              COLUMBIA GAS OF

CHECKS IN SERIAL NUMBER ORDER
  Date    Check No                       Amount Date Check No                    Amount
 12/29         1042                   13,270.71 12/20      1044                1,000.00
 12/26         1043                    7,237.20 12/21      1045                  354.47
* Indicates Skip In Check Number Sequence
         Case 2:23-bk-50619   Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14      Desc Main
                                       Document     Page 16 of 17




                                                      Date 12/29/23     Page      3
                                                      Primary Account          9326




 Commercial Checking                           9326    (Continued)
DAILY BALANCE INFORMATION
 Date                Balance Date                Balance Date               Balance
 12/01            90,825.83 12/18            118,279.57 12/26           111,228.44
 12/04           120,648.66 12/20            117,279.57 12/27           111,009.65
 12/06           119,648.66 12/21            116,925.10 12/28           109,702.78
 12/11           122,148.66 12/22            118,465.64 12/29            96,432.07
                                        *** END OF STATEMENT ***
Case 2:23-bk-50619       Doc 54    Filed 01/08/24 Entered 01/08/24 11:20:14            Desc Main
                                  Document     Page 17 of 17



                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing MONTHLY OPERATING REPORT FOR
SMALL BUSINESS UNDER CHAPTER 11 was served (i) electronically on the date of filing
through the Court’s ECF System on all ECF participants registered in the case at the email
addresses registered with the Court and (ii) by first class U.S. mail on January 8, 2024, addressed
to the following:

Gobo, Ltd.
4000 Horizons Dr.
Columbus, OH 43220


                                                       /s/ John W. Kennedy
                                                     John W. Kennedy (0042672)




                                                1
